      Case: 1:20-cv-02918 Document #: 31 Filed: 06/29/20 Page 1 of 1 PageID #:79


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form

            Stefon Harrison v. Ronald Watts,
Case Title: et al.                           Case Number: 20-cv-2918


An appearance is hereby filed by the undersigned as attorney for:
Ronald Watts

Attorney name (type or print): Brian P. Gainer

Firm: Johnson & Bell, LTD

Street address: 33 W. Monroe Street, Suite 2700

City/State/Zip: Chicago, Illinois 60603

Bar ID Number: 6286200                                     Telephone Number: 312-372-0770
(See item 3 in instructions)

Email Address: GainerB@jbltd.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on June 29, 2020

Attorney signature:            S/ Brian P. Gainer
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
